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            EXHIBIT 1
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    Monsanto's                                                            Monsanto's Responses to Monsanto's Objections to Plaintiff's Responses to
    Affirmatives   Plaintiff's Objections        Plaintiff's Counters            Objections                      Counters               Objections
                                                                                                       Lack of foundation as to
                                                                                                       page 885 as to "all"
                                                                                                       pesticides EPA has ever
                                                                                                       looked at. Lack of
                                                                                                       foundation, 401, 403, PTO
                                                                                                       81 at 2 (MIL ruling on
                                                                                                       Monsanto's MIL 5.2,
                                                                                                       excluding evidence of
                                                                        As the Court made clear on other Monsanto products)
                                                                        Friday, evidence of            as to pages 886 and 887;
                                                                        regulatory determinations this is an attempt to bring
                                                                        is relevant to the failure-to- in other chemicals
                                                                        warn claim and not limited manufactured by               Testimony concerns
                                              885:10-14                 to pre-2012. See, e.g., Trial Monsanto and EPA's         chemicals generally,
                                              885:17-19                 Tr. 2377:23-2378:15; PTO determinations on those, not branded Monsanto
                                              886:20-887:3              122 at 1 (noting that EPA      which the Court has       products. No testimony
                                              887:6-8                   evidence does not remain already ruled is not            that other pesticides
                                                                        as limited in Phase 2 as in appropriate in this          and/or chemicals are
854:19 - 855:3                          401                             Phase 1).                      litigation.               monsanto products.
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                                                                               Lack of foundation as to
                                                                               page 885 as to "all"
                                                                               pesticides EPA has ever
                                                                               looked at. Lack of
                                                                               foundation, 401, 403, PTO
                                                                               81 at 2 (MIL ruling on
                                                                               Monsanto's MIL 5.2,
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                                                As the Court made clear on other Monsanto products)
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                               885:10-14        to pre-2012. See, e.g., Trial Monsanto and EPA's         chemicals generally,
                               885:17-19        Tr. 2377:23-2378:15; PTO determinations on those, not branded Monsanto
                               886:20-887:3     122 at 1 (noting that EPA      which the Court has       products. No testimony
                               887:6-8          evidence does not remain already ruled is not            that other pesticides
                                                as limited in Phase 2 as in appropriate in this          and/or chemicals are
855:11 - 856:1           401                    Phase 1).                      litigation.               monsanto products.
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                                                                                Lack of foundation as to
                                                                                page 885 as to "all"
                                                                                pesticides EPA has ever
                                                                                looked at. Lack of
                                                                                foundation, 401, 403, PTO
                                                                                81 at 2 (MIL ruling on
                                                                                Monsanto's MIL 5.2,
                                                                                excluding evidence of
                                                 As the Court made clear on other Monsanto products)
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                                885:17-19        Tr. 2377:23-2378:15; PTO determinations on those, not branded Monsanto
                                886:20-887:3     122 at 1 (noting that EPA      which the Court has       products. No testimony
                                887:6-8          evidence does not remain already ruled is not            that other pesticides
                                                 as limited in Phase 2 as in appropriate in this          and/or chemicals are
857:21 - 858:21           401                    Phase 1).                      litigation.               monsanto products.
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                                                                                Lack of foundation as to
                                                                                page 885 as to "all"
                                                                                pesticides EPA has ever
                                                                                looked at. Lack of
                                                                                foundation, 401, 403, PTO
                                                                                81 at 2 (MIL ruling on
                                                                                Monsanto's MIL 5.2,
                                                                                excluding evidence of
                                                 As the Court made clear on other Monsanto products)
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                                                 regulatory determinations this is an attempt to bring
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                                885:10-14        to pre-2012. See, e.g., Trial Monsanto and EPA's         chemicals generally,
                                885:17-19        Tr. 2377:23-2378:15; PTO determinations on those, not branded Monsanto
                                886:20-887:3     122 at 1 (noting that EPA      which the Court has       products. No testimony
                                887:6-8          evidence does not remain already ruled is not            that other pesticides
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859:15 - 860:13           401                    Phase 1).                      litigation.               monsanto products.
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                                                                                Lack of foundation as to
                                                                                page 885 as to "all"
                                                                                pesticides EPA has ever
                                                                                looked at. Lack of
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                                                                                81 at 2 (MIL ruling on
                                                                                Monsanto's MIL 5.2,
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                                886:20-887:3     122 at 1 (noting that EPA      which the Court has       products. No testimony
                                887:6-8          evidence does not remain already ruled is not            that other pesticides
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862:1-19                  401                    Phase 1).                      litigation.               monsanto products.

                                                 As the Court made clear on
                                                 Friday, evidence of
                                                 regulatory determinations
                                                 is relevant to the failure-to-
                                                 warn claim and not limited                              Testimony not about
                              909:20-910:18      to pre-2012. See, e.g., Trial 401, 403, PTO 81 at 3     prop 65. Relevant to
                              910:21-23          Tr. 2377:23-2378:15; PTO (ruling on Monsanto's MIL counter Monsanto's
                              910:25-911:01      122 at 1 (noting that EPA      8, excluding evidence of line of questioning
                              911:4              evidence does not remain Prop 65) as to 910:15-18, attempting to impeach
                              911:8-11           as limited in Phase 2 as in 910:21-23, 910:25-911:01, witness with decisions
866:24 - 867:12           401 911:13             Phase 1).                      911:8-11, 911:13         of regulatory agencies.
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                                                 As the Court made clear on
                                                 Friday, evidence of
                                                 regulatory determinations
                                                 is relevant to the failure-to-
                                                 warn claim and not limited                              Testimony not about
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                              911:4              evidence does not remain Prop 65) as to 910:15-18, attempting to impeach
                              911:8-11           as limited in Phase 2 as in 910:21-23, 910:25-911:01, witness with decisions
870:11-16                 401 911:13             Phase 1).                      911:8-11, 911:13         of regulatory agencies.

                                                 As the Court made clear on
                                                 Friday, evidence of
                                                 regulatory determinations
                                                 is relevant to the failure-to-
                                                 warn claim and not limited                              Testimony not about
                              909:20-910:18      to pre-2012. See, e.g., Trial 401, 403, PTO 81 at 3     prop 65. Relevant to
                              910:21-23          Tr. 2377:23-2378:15; PTO (ruling on Monsanto's MIL counter Monsanto's
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                              911:4              evidence does not remain Prop 65) as to 910:15-18, attempting to impeach
                              911:8-11           as limited in Phase 2 as in 910:21-23, 910:25-911:01, witness with decisions
871:16 - 872:18           401 911:13             Phase 1).                      911:8-11, 911:13         of regulatory agencies.

                                                 As the Court made clear on
                                                 Friday, evidence of
                                                 regulatory determinations
                                                 is relevant to the failure-to-
                                                 warn claim and not limited                              Testimony not about
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                              911:8-11           as limited in Phase 2 as in 910:21-23, 910:25-911:01, witness with decisions
879:1-12                  401 911:13             Phase 1).                      911:8-11, 911:13         of regulatory agencies.
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                                                 As the Court made clear on
                                                 Friday, evidence of
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                              911:13             as limited in Phase 2 as in 910:21-23, 910:25-911:01, witness with decisions
879:17 - 881:11           401 "                  Phase 1).                      911:8-11, 911:13         of regulatory agencies.

                                                 As the Court made clear on
                                                 Friday, evidence of
                                                 regulatory determinations
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                                                 warn claim and not limited                              Testimony not about
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                              910:25-911:01      122 at 1 (noting that EPA      8, excluding evidence of line of questioning
                              911:4              evidence does not remain Prop 65) as to 910:15-18, attempting to impeach
                              911:8-11           as limited in Phase 2 as in 910:21-23, 910:25-911:01, witness with decisions
882:4-7                   401 911:13             Phase 1).                      911:8-11, 911:13         of regulatory agencies.

                                                 As the Court made clear on
                                                 Friday, evidence of
                                                 regulatory determinations
                                                 is relevant to the failure-to-
                                                 warn claim and not limited                              Testimony not about
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                              911:8-11           as limited in Phase 2 as in 910:21-23, 910:25-911:01, witness with decisions
882:10 - 883:3            401 911:13             Phase 1).                      911:8-11, 911:13         of regulatory agencies.
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                                           As the Court made clear on
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884:12-25           401 911:13             Phase 1).                      911:8-11, 911:13         of regulatory agencies.
